    Case 4:15-cv-00225-O Document 278 Filed 07/10/17                 Page 1 of 4 U.S.
                                                                                 PageID     7447
                                                                                      DISTRICf COURT
                                                                              NORTHERNDISTRICf OFTEXAS
                                                                                              FILED
                             IN THE UNITED STATES DISTRICT COU T
                             FOR THE NORTHERN DISTRICT OF TEX S                              JUL I 0 2017
                                     FORT WORTH DIVISION

CAREY D. EBERT,                                   §
                                                  §
           Plaintiff,                             §
                                                  §
v ..                                              §        Civil Action No.: 4:15-cv-225-0
                                                  §
MICHAEL GUSTIN, ET AL.,                           §
                                                  §
           Defendants.                            §


    ORDER ON DEFENDANTS MIKE GUSTIN, JEFFREY WOHLER, AND JOHN PAUL
      DEJORIA'S FIRST AMENDED OBJECTIONS TO PLAINTIFF'S PROPOSED
      DEPOSITION EXCERPTS TO WOHLER DEPOSITION AND CONDITIONAL
                 SUPPLEMENTAL DEPOSITION DESIGNATIONS

           The Court has considered Defendants John Paul DeJoria, Michael Gustin, and Jeffrey

Wohler (the "DGW Defendants") first amended objections to the deposition designations of Jeff

Wohler proposed by Plaintiff Carey D. Ebert, as the Chapter ll trustee of the Latitude Solutions

Inc. bankruptcy estate (the "Trustee") and has determined that the objections should be

GRANTED or DENIED as indicated below:

                         <  Basis for Objection
                             •                            Granted            I··• ·.         Denied<        ·
'    ····••·• Excerrit
    53:14-19             Improper reference to
                         attorney objection;
                         argumentative                     X
    57:11-23             402 403 404                                           X
    66:22-23             402 602                                                 )(
    67:14-16             402 602                                                       X
    67:20-68:1           402 602                                                       'l(
    68:25-69:4           402 403 404                                           X
    69:9-17              402 403 404 602                    )(
    74:9-14              402 403 404                             -             X
     Case 4:15-cv-00225-O Document 278 Filed 07/10/17                Page 2 of 4 PageID 7448


                                                          .
    ·· •···· E:icerpt .       Basis for Ob.iection            Gr;mted         .·· ·•· Denied
    85:10-87:10           402 403 404 602                                    )(
    87:14-21              402403 404                                        X
    88:12-22              402 403 602
                                                                             X
    89:1-3                402 403 Improper reference
                          to attorney client privilege          X
                                                                            ~
    90:9-14               402 403 404
                                                                X
    92:12-93:16           402 403 404
                                                                'X
    94:3-95:15            402 403 404                                       X
    96:12-97:24           402 403 404                                       X
    99:2- 100:5           402 403 404                                       X
    100:6-10              402 403 404                                       X            .




    102:17-105:9          402 403 404                                       X

.
    107:14-23             402 403 404                                       X
     I 07:24-108:2
                 .
                          402 403 404                                       X
    108:19-110:14         402 403 404                                       X
    119:6-14              402 403 404                                       X
    119:16-121:16         402 403 404                                       X
    127:8-14              402 403 404 Vague                                  X
    128:1-13              402 403 404 Vague .                               X
    129:6-21              402 403 404                                       X
    129:23-130:-:1720     402 403 404                                       X
    131:17-133:10         402 403 404                                       X
    146:23-147:18         LIM                                               X
    154:3-157:14          402 403 404                                       X
    158:3-6               Objection     to   underlying                     X
                          document
    158:22-159:22         402 403 404                                       X
    160:2-17              402 403 404                                       X
    161:1-21              402 403 404                                       X


                                                     2
Case 4:15-cv-00225-O Document 278 Filed 07/10/17        Page 3 of 4 PageID 7449


· ·. · E:ic~rpt      Basis for Ob.iection       Granted          ·.. ··.· l)enied     ...
                                                                                    ..·

162:22-166:16     402 403 404                                   X
166:17-20         602 misstates facts                            )(
171:22-171:21     402 403 404                                   X
172:22-173:       402 403 404
                                                X
173:17:23         402 403 404                                  X
180:23-181:13     402 403 404                                   X
181:14-182:16     402 403 404                                   X
205:5-6           402 403 404
                                                 X
205:19-207:11     402 403 404
                                                  X
207:15-208: I 0   402 403 404
                                                    X
208:12-209:17     402 403 404
                                                    X
209:19-209:24     402 403 404
                                                    X
210:11-212:1      402 403 404
                                                     X
214:1-21          402 403 404
                                                    X
214:23-25         402 403 404
                                                    X
218:20-219:1      402 403 404
                                                      X
219:15            402 403 404                         X
219:16-23         402 403 404
                                                      X
224:4-6           402 403 404                                  X
224:18-225-7      402 403 404 802                              X
226:22-227:8      802                                          X
229:8-15          802                                          X
230:13-20         LIM                                          X
233:2-5           402 403 404                                  X
233:20-25         LIM                                          X




                                            3
 Case 4:15-cv-00225-O Document 278 Filed 07/10/17                 Page 4 of 4 PageID 7450


       In addition, if the Trustee plays deposition excepts from Mr. Wohler, Defendants

conditional offer of the following deposition excerpts will also be played without objection:


 74:15-75:2
 75:25-76:5
 76:9-17
 105:10-17
 111:23-113:15
 115:20-116:11
 141:2-14
 167:7-168:14
 169:21-170:11
 184:25-185:4
 185:22-186:3
 187:2-189:3
 225:8-10
 229:13-15
 229:21-22


       SO ORDERED on this       to-tfaay of July 2017


                                             Re d O'Co11nor           ·
                                             UNITED STATES DISTRICT JUDGE




                                                4
